4/5/2018

Earnings Summary

Company

1007 Scott Shawd Food Company LLC
220 South C|iff Ave

Harrisburg, SD57032

Pay To

Quentin Brown
301 S Harrison St

Lennox, SD 57039

Pay Rate Quantity Current
Hour1y 10 29.72 $297.20
Totals: 29.72 $297.20
Taxes Current
Federal |ncome Tax $15.49
FlCA Medicare $4.31
FlCA Socia| Security $18.43
Totals: $38.23
Deductions Current
Af]ac PT $0.00
Tota|s: $0.00
Hours 29.72
Net Pay $258.97
Direct Deposit (s) Made to

Bank

291479356 DAKOTALAND FEDERAL C

Earnings statement

Case: 18-40248 Document: 4-1 Filed: 05/16/18 Page 1 of 3

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lD # Location Department Division Job Tlt|e C|ass
44 Defau|t . Defau|t t
Location Hamsburg Division
Tax Setup Status Ex Extra W/H
Federa| |ncome Tax Sing|e 0 $0.00
YTD Benefits Current YTD
$1,273.00
Tota|s: $0.00 $0.00
$1,273.00
YTD Time-Off Accrua| Used Avai|ab|e
$72.96
$1 8.05
$77.1 9
$168.20
YTD Notes
$28.08
$28.08
127.3
$1,076.72
Routing # Account Amount
291479356 ending in..9093 $258.97

Check# 1000030235

From 02/21/2018
To 03/06/2018
Check Dafe 03/09/2018

CyberPay"‘ © 2018 AdaptaSof?

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4/5/2018

Eamings statement

Case: 18-40248 Document: 4-1 Filed: 05/16/18 Page 2 of 3

Earnings Summary

Company

1007 Scott Shawd Food Company LLC
220 South C|iffAve

Harrisburg, SD57032

Pay To

Quentin Brown
301 S Harrison St

Lennox, SD 57039

Pay Rate Quantity Current
Houdy 10 40_8

Tota|s: 40.8

Taxes Current
Federa| |ncome Tax $26.57
FlCA Medicare $5.92
FlCA Socia| Security $25.29
Totals: $57.78
Deductions Current
Af|ac PT $0.00
Totals: $0.00
Hours 40.8
Net Pay $350.22

Direct Deposit (s) Made to
Bank
291479356 DAKOTALAND FEDERAL C

lD#
44

YTD

$408.00 $1,681.00

$408.00 $1 ,681.00

YTD
$99.53
$23.97

$102.48

$225.98

YTD
$28.08

$28.08

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Check Date 03/23/2018//`-
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Location Hamsb“'g Division
Tax Setup Status Ex Extra W/H
Federa| |ncome Tax Sing|e 0 $0.00
Benefits Current YTD
Totals: $0.00 $0.00
Time-Off Accrua| Used Availab|e
Notes
Routing # Account Amount
291479356 ending in..9093 $350.22

CyberPay"‘l © 2018 AdaptaSoft

 

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Eamings Summary

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1007 Scott Shawd Food Comoany LLC
220 South 01fo Ave

Hamsburg, 8057032

|’¢yTo
Quentin Brown
301 S Hamson S!

Lennox, SD 57039

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Check# 1000031808

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